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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                             4:24CR3013

       vs.
                                                              ORDER
EDDIE L. HOUPT,

                    Defendant.



       The court has been presented a Financial Affidavit (CJA Form 23) signed
by the above-named defendant in support of a request for appointed counsel.
After a review of the Financial Affidavit, I find that the above-named defendant is
eligible for appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and Amended Criminal Justice Act Plan for the District of
Nebraska.

      IT IS ORDERED that Deborah D. Cunningham is appointed as attorney of
record for the above-named defendant in this matter and shall forthwith file an
appearance in this matter.

      IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing
the name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this
order to the Federal Public Defender for the District of Nebraska and Deborah D.
Cunningham.

      DATED this 24th day of January, 2024.

                                             BY THE COURT:

                                             s/ Jacqueline M. DeLuca
                                             United States Magistrate Judge
